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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


 CLINGMAN & HANGER MANAGEMENT                        CASE NO. 16-CV-62028-JAL-JG
 ASSOCIATES, LLC as Trustee

                       Plaintiff,

 v.

 DAVID KNOBEL, JEFFREY PIERNE, NEAL
 YAWN, DEAN BARTNESS, SIANA
 STEWART, and CID YOUSEFI

                       Defendants.



                 MOTION FOR LEAVE TO EXCEED PAGE LIMITATIONS

          Pursuant to Local Rule 7.1(c)(2), Defendants David Knobel, Jeffrey Pierne, Neal

 Yawn, Dean Bartness, Siana Stewart, and Cid Yousefi (collectively, “Defendants”)

 respectfully move this Court for leave to file a memorandum of law in support of their

 forthcoming motion to dismiss that exceeds twenty pages.              In support, Defendants

 state:

          1.    Defendants will be filing their Motion to Dismiss, along with a supporting

 Memorandum of Law, on Wednesday, July 26, 2017.

          2.    Local Rule 7.1(c)(2) requires that memoranda of law be limited to twenty

 pages absent leave of Court to file excess pages.

          3.    Defendants’ counsel have endeavored to make the brief as short as

 possible while still setting forth their legal positions with sufficient depth.

          4.    The Court allowed Defendants to file a twenty-five page memorandum of

 law in support of their motion to dismiss the original Complaint. (Dkt. 18). The Amended
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 Complaint contains forty-one more paragraphs than the original Complaint, as well as a

 new cause of action, which has required additional briefing.

        5.     Considered separately, each Defendant would be allowed their own

 motions to dismiss and memoranda of law in support, totaling one-hundred-twenty

 pages in length, but Defendants will join their arguments together reduce the burden on

 the Court.

        6.     Therefore, Defendants request leave to file a memorandum of up to thirty

 pages in length, and will strive to submit a memorandum shorter than that limit.

        For the foregoing reasons, Defendants respectfully request that the Court

 GRANT their motion and permit them to file a memorandum of law in support of their

 forthcoming motion to dismiss up to thirty pages in length, and all other relief the Court

 deems just and proper.

                             Local Rule 7.1(a)(3) Certification

        Counsel for the movant has conferred with all parties who may be affected by the

 relief sought in the motion in a good faith effort to resolve the issues raised in this

 motion and have been unable to do so.




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                               BILZIN SUMBERG BAENA PRICE & AXELROD LLP
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                                                                                                  Respectfully Submitted,

                                                                                                  Counsel for Defendants

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                                   Certificate of Service

       I hereby certify that on July 25, 2017, I electronically filed the foregoing with the

 Clerk of Court, using CM/ECF. I also certify that the foregoing document was served on

 all counsel of record via transmission of Notice of Electronic filing generated by

 CM/ECF.



                                                                   /s/ Kenneth J. Duvall
                                                                       Kenneth J. Duvall




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